CaSe:lS-lOQGB-TB|\/| DOC#ZJ_ZO Filed:OS/ZO/J_S Entered:OS/ZO/J_S 10255233 Pagel Of 13

Exhibit 5

___-__

DEBTOR(S):\ `Q:(> 3 !`l-_\d'_\ w LLC MONTHL¥ OPERAT|NG REPORT
CHAPTER 11
CASE ~uMBER= \E>~_\:':B\MM
Form Z-A

COVER SHEET

For Perwd End Dare:`\u.l_\.§f)l.j&\&

Accounting Method: lZ;ccrual Basis ECash Basis

 

TH!S REFORT IS DUE 21 DAYS AF|'ER THE END OF THE MONTH

Debtor must attach each ol' the following documents unless the U. S. Trustee

 

Mark One Box lr.\r Each has waived the requirement in wnling. Fi|e lhe original with the Clerk of Court.
Required Documem: Submit a duplicete, wilh original signature, to the U. S. Tmstee.
ReportlDocument Prevloudy
Auachod waived REQU|RED REPORTSIDOCUMENTS

 

1. Cash Receipts and Disursements Statement (Form 2-B)

2. Balance Sheet (Form 2-C)

'3. Proflt and Loss Slatement (Form 2-D)

4. Supporting Schedules (Form 2-E)

. Quarter|y Fee Summary (Form 2-F)

'6. Narrau\.e (Form 2-<;)

'7. Bank Statements for Al Bank Accounts

(Redact all but last 4 digits of account number and remove check images )

'e. Bank statement Reconciliav'ons for all Bank A¢¢oune

9 E\n'dence of insurance for al policies renewed or replaced during month

aaaaaaaaa
l:l\:|l:|m[ll:lmg

 

l declare under penalty of perjury that the following Monthly Operating Report, and any
attachments thereto are true, accurate and correct to the best of my knowledge and belief

Executed on:&\nx\_% Print Name: `
Signature: l 7M

Title: mmr

 

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Exhibit 5
DEBToR(s); § gm § aim 213 j 1 C cAsE No: Q;MT?>M
Form 2-B
CASH RECE|PTS AND DlSBURSEM NTS STATEMENT
For Period: ‘_\h ha to
cAsH DlseuRsEMENrs DETA|L A<=COunt__N_°T\
(an‘ach addtional sheet as necessary
|_Date l E:heck NO-| l Payee _l l Description (Purpose) J $I Amount l

11\%|\8 \\O"r N€L\r\\-on 7\7() Momj?€c€> 7-‘\‘5?1€@
'\l\°\\\a \\0© memo p<\\ocm%’reoe <2>%’):\.9>2>

‘\l\°\l\% ma \CE\, maurice \O\").'oo.ae>
'\\’L'\\\B \\O\o \X\-Tec, immune ’ilvc'\ri. \’).O¢r.'“
Total Cash Disbursements lamm

(1) Total for all accounts should agree with total cash disbursements listed on Form z-B, page 1

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EX hibif 5
DEBTQR¢S)=_\AZ)E*D_ZLL§D&Q_L\.L CASE~O= B;\M"/‘
Form 2-B
CASH RECE|PTS AN DISBURSE ENT STATEMENT
For Period: "\ to
CASH FLO\N SUM\l|ARY Current
..M.<.>M AM.UB!€_¢
l'1. Beginning Cash Balance $ M'U) $ ’M__'(U
'2. cash Raceips
Operalr'ons
sara or Assars g
Loanslad\.ences "'
Total Cash Receipls $\éQ-_]_\§g§g_ $ \mm:
'3. Cash Disbursements
Operalions
Debt ServicelSecured loan payment
Prafessionar raas/u.S. Trusrae fees \ \5?>\‘ 455 ‘°irl.’)-U) go
Profession fees paid from Retainer (e.g. COLTAF acct) 15
other |\r\er.\mnce,,uli\ilicz MAB 75\ § 5
rural Cash Drsbursemenrs $ U $ m
'4. Nar cash Fraw (rarar cash Racarprs less _ _
Total cash Drsbursemenrs) " §M:Lq_l ifll.§¥;\;f.`£>
5 Ending cash aaranaa rca Form 2-c) $ `Mz) $ Mz)
CASH BALANCE SUWARY BOOk
Financia| |nslil\_r§gn Balance
Pauy cash MIA $
D|P Operatlng Account k wis Z § §§ ULD'\¢\°.OE)
DrP stare Tax Account \Ol ll
D|P Payrol Account \Q'IA
Olher Operaiing Account l\§ m
Reiainers held by professionals (i.e' COLTAF)M_|_Q]U ¢
ToTAL (muar agree with Ending cash Balance abo\.e) s 'U’(z)

(1) Accumulated mgnning cash balance is the cash available at the commencement of the case and relalners_
Cunent month beg'nnlng cash balance should equal the previous month's ending balance
(2) All cash balances should be the same
Page 24
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DEB'roRrs): Mm@d \LC,

 

Form 2-C

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ahead l

CASE NO:

COMPARAT|VE BALANC SHEET
For Period Ended: _ _
Current Pe”t'°"

ASSETS

Current Assets:
Cash (from Form 2-B, line 5)
Accounts Reoeivab|e (from Form 2-E)
Receivable from Oflicers, Employees, Affi|ietes
inventory
Oiher Current Assets :(List)

 

 

Total Current Assets
Fixed Assets:
Land
Building
Equipment, Furniture and Fi)dures
Total Fixecl Assets
Less: Acoumulated Depreciation

Net Fixed Assets
Olher Assets (Lisl):

TOTAL ASSETS

LlABlLlTlES
Post-petition Accounts Payable (from Form 2-E)
Post-petition Accrued Profesiona| Fees (from Form 2-E)
Post-petition Taxes Payable (from Form Z-E)
Post-petition Notes Payab|e
Other Post-petition Payab|e(List):

 

Total Post Petition Liabilities

Pre Petition Liabi|ities:
Secured Debt
Priorily Debt
Unsecured Debt

Total Pre Petition Liabi|ities
TOTAL LlABlLlT|ES

OWNERS'EQUITY
Owner‘slStockholder's Equity
Retained Earnings - Prepeliljon
Rerained Earnings - Post-petition

TOTAL OWNERS' EQUITY
TOTAL LIABILITIES AND OWNERS' EQUITY

Month Date (1 )

$M‘H.O‘f> $
\?>51'5’2.').1 \?>‘5"`57"')")'

$Tr‘\$mz

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$M$:E

. _ boo\oeoh=\
`H’.)\\ao%fl \,)Z)M __

message Ma=r
$MQE')$ aauzsaoa=r

 

$ mrs mrs
sidewalk wm

(1) Petlll'on date values are taken #om the Debhor's balance street as of the petition date or m the values

listed on the Deboor's schedules

Page 27
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DEBToR(s): nw § !‘m§>_-Ij 1 }Q:

Form 2-D

PROF|T AND LOSS STATEMENT

For Period

Gross Operating Revenue
Less: Discounts. Returns and Aiio\hances

Net Operating Revenue
Cost of Goods Soid

Gross Proi'rt

Operating Expenses
thcer Cornpensation
saling, oenerar and Adminisrrarrvel insurance
Reni:s and Leases
Depreciaiionl Depieir'on and Am§mion
Olher (Hst):

Total Operating Expenses
Operating income (Loss)

Non-Operating income and Expenses
Oiher Ncn-Operair`ng E)penses
Gains (Lossee) orr Sale of Assets
interest income
interest E)¢perrse
Oiher Non-Operaiing income

Net Ncn-Operating income or (Expenses)

Reorganization Expenses
Legai and Professiona| Fees
Oiher Reorganizair'on Expense

Total Reorganization Expenses
Net income (Loss) Before income Taxes

Federal and State income Tax Expenae (Beneflt)

NET lNCOME (LOSS)

to

Current
Month

\Qo¢r."
i\o%\ A?)
BHQ£B
$ war
$ ~'_?)M£l\

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$

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$ -_ZQ.L>€£»_C\\

(1) Accumulated Tolals lnclude all revenue and expenses since the petition date.

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Exhibit 5

____u-l-'

cAsE No: MTU’\

Accurnu|ated

Total 111

$ ZAer\S-_O%

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causes

DEBTOR(S)= nf£{ § § ramij t mg cAsE NO:MVI

Form 2-E lPage 1 of 2)

SUPPORTING SCHEDULES
For Period: "'\ \ \\% to \`E)\ \ la
'l

of Post-Petition axes
1 2 3 4

 

 

   
   

Unpaid post-petition Post-petition taxes Post-petition tax Unpa'rd post-petition
taxes from prior accrued this month ( payments made this taxes at end of reporting
of 131 1 month month columns 1+2-

income iaxwithheid
FiCA taxes withheld
FiCA tam

taxes

Other:

Persona| taxes
Reai taxes

Olher:
Total taxes

(1) For lirst report the beginning balance in column 1 will be $0; tllereafier, beginning balance will be ending balance from priorrepo.rt.

Premium paid through
Insurance carrier amount date date

of insurance

aq-

-_l

attach new certificate of insurance

 

were renewed or

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Exhibit 5

DEBTOR¢S)=LQQM cer~o=ia~ir;emrevr

Form 2»E |Page 2 of 2)

SUPPORT|NG SCHEDULES
ForPeriod:'_'§|] `]f> to :§`5“\8

attach detailed i
Over 90

unts Receivable
30 or less 31 to 61 tn 90

_____- _____ __-¢

Total at month end

receivables
on receivables

attach detailed rt

Post-Petition Accounts Su

30 or less 31 to 60 Total at month end

611090 O\lergO

 

 

SCHEDULE OF PAYMENTS TO ATTGRNEYS AND OTHER¢PR'OFESSlONALS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Month-end Current Paid in
Retajner Month's Current Court Approval Month-end
Balance Accrual Month Date Balance Due *
Deblors counsel s CZ $ \\'f)%\. ."3\‘?)
counsel for unsecured N)A
creditors cormieee NJA
Truslee's counsel N l A
Aoooornom N_lA
To'el s (75

 

7
’Elalanu due m include fees and expenles lncurnd' but not yet pald.

SCHEDULE OF PAYMENT AND TRANSFERS TO
Nan'le

'*Ll¢ paymenhand hndenofany kind and in any form made w or for the benefit of any proprietor. owner, pannor, dianhold¢r,

AL
Nature of

Page 30

ollieu. or dlr¢ebr.

    

Rev. 1115/14

 

 

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Exhibif 5
DEBT°R<S>= MZ£DSB;MLM CASE N°= \9>‘ \<MF>WM
Form 2-F
QUARTERLY FEE SUMMARY *
For the Month Ended: f |\Zz\ ` §§
Cash Quarterly Date
Month Year Disbursements ** Fee Due §L‘Ml`.l& _P_ai_d-
January ill §\% $
February :L:>§&
Meroh /2,03§3 ’2_£`.$1.@10
TOTAL1stQuarter $ 'E §£_E 3 2255- m w
April M $ \?)%‘°r .2)9>
m _M W"°Oi-‘B
1458 .C\\

 

rorntzndouarer em $ 3553 \\Uc'> ‘1\_\2)\_\%
must -_’l<_>\& $ 2>'20¢¢\ .C\l
Sepwmber

TOTAL 3l'd Qual`tel' $ $

October $
Nov\errber
Decen'ber

TOTAL 4th Quarfer $ $

 

EDULE las of JANUARY 1l 2008|

that may occur to 28 U.S. C. §1930(3) (6)

Quar'ter[g Disbursemenls F£ Quarterh¢ Disbursements FE

$0 to $14.999 ................. $325 $1.000,000 to $1,999. 999 ............ $6,500
$15,000 to $74.999 ......... $650 $2,000,000 to $2,999, 999 ............ $9.750
$75.000 to $149.999....... $975 $3,000,000 to $4,999,999 ............ $10,400
$150,000 to $224,999 ..... $1,625 $5.000,000 to $14,999,999 $13,000
$225,000 to $299,999..... $1,950 $15,000.000 to $29.999.999. $20,000
$300,000 to $999,999 ..... $4.875 $30.000,000 or more $30.000

 

* This sun'mary is to reflect the current calendar yolr‘s information cumulative to the end of the reporting period

** Shou|d agree with line 3, Form 2-B. Disbursements are net of transfers to other debtor in possession bank accounts

Failure to pay the quarterly fee l's cause for conversion ordisrnr'ssal ofthe chapter 11 case. [11 U. S.C. Sec. 1112(b)(10)]

ln addition, unpaid fees are considered a debt owed to the United Statos and v\r'll be assessed interest under 31 U. S. C. §3717
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Exhibit 5

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nEBToR(s):§§§M) §M-\-_’r)` fig L_L_C/ CASE NO=_\&“'_\M'\

Form Z-G

NAR T
For Period Ending

Piease provide a brief description of any significant business and legal actions taken b¥th_€ de bt°'» _
or the court during the reporting period, any unusual or non-recurring accounting transactions that are reported m
the tinancia| statements, and any significant changes in the financial condition of the debtor \l\fh|Ch have occurred

susequent to the report date.

\\\O €>`\%r\`\¥`\coni' Cxon§f> `m ~\u,\.\_d.

its creditors

 

 

 

 

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Rev. 1/15!14

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Case:l - 5-TBl\/| D #:1 ` : - - -
&H§:SDBBS 00 20 Filed 08/20/18 Ente§e|daig§é§fygh€idih%§§a§nel§>`@gelO of IE
Clevslsnd. OH 44101-5335 Jt.lly 31, 2018 §
' page 1 of 2 §
_E';
4151 1 As o.¢ios r12 Pi Auro a Rrivnx T 101 uncon- R sm ri szssssss
11380 SNl|Tt-l R()A[)l L|_C 761011004022
CASE#18-10965TBM
DEBTOR |N POSSESS|ON
:_.\JE,,J‘},JBBO SN||TH RD
_,,d br.d§URORi°\ CO 80010-1406 ` Oueslrbns or comments?
insane w Ca|| our Key Business Flesource Cerltel'
irrer 1 -esa-KEY4eiz ti -eae-539-4249}
l¢||lilll|lt|ll|lllllc\|l|llll|l|||[li|lllillll|ill|lllll|||ll|ll
rt 95 \'l le
_ - -
Enroll in Online Banking today at Key.com.
Access your available accounts transfer funds and w`e'w your transactions right from your PG.
_ -
KeyBank Basic Business Chec|<ing 761 011 004022
11380 SM'TH ROAD' L|'C Beginning balance 6-30-18 $66,7'| 5-96
CASE#‘l 8-1 OBBSTBN‘| '
DEBToi=i iN PossEssiorv 4 Sub"a°*'°"$ » '32'°41'91
Ending balance 7-31-18 $34,674.05
Subd'actions
Paper Checks * check missing from sequence
Check Date Amount Check D_ate Amount Check Date Amount
1103 7-19 $B,BZ?.BB 1104 7-1B 21?53. 60 *1106 7-27 1,204.00
Papor Checks Paid $12,785.43
Wl'thdrawals Date Serr'al # l_ocatr'on
7-1 9 Direct Withdrawal. Xce| Energy-Pscoxcelenergy $1 9.256.48
Total subtractions $32,041 .91
Fees and
charges D€l`€ Quaritl`ty Urii`t Charge
7-31-18 Paper Staternent Fee F 1 3.00 -$3.00
7-31-18 Service Charge Waive To He|ationship Pricing 1 3.00 +3.00
Fees and charges this period $0.00

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829870.6-625‘35559-4151.1|3*

 

customers AccouNT oiscLosun§

The lo!lowing disclosures apply only to accounts covered by the Fedsral Truth-in_Londing
Act cr the Fodsra| Eloctronic Funds Transl‘ar Act, as amended, or similar state laws.

|N CASE OF EHROR OR QUESTIUNS ABOUT YOUH ELECTRON|C THANSFERS:

Call us at the phone number indicath on the first page of this statement, OFl writs us at
the address lisin bB|°W'. 35 5°°" 35 ¥°Ll CBH. if you think your statement or receipt is
“"°"'5 or ii ¥W head mm inf°m'lafidl'l about a transiarlisted on the statement or receipt.
We must hear from you no later than Sixty (60) days after wo sent you the F|FlST statement
on which the problem or error appeared

" KsyBank

Customer Disputes
N\'-31-17-0128

17 Corponne Woods Blvd
Aibany, NY12211

' Tell us your nanto and Account numbsl',

- Doscribs tha error or transfer that you aro unsure about, and explain as
clearly you iran why you believe it is an error or why you need more
information;

~ Tell us the dollar amount cl the suspected error.

lt you toll us ora|iy, we may require that you send us your complaint or question in writing
within ten [10] business days.

We will investigate yourcomp|aint and will correct any error promptly. lt wo take more
than ton (10) business days to do this, we will rscrsdit your account for the amount you
thinkis in error, so that you will have use of the money during the time it takes us to
complete our investigation

COMMON ELECTRON\C TRANSACT\ON DESCR|PT|ONS:

XFEF\ TO SAV - Transl'er to Savings Account
XFER FFlOM SAV - Tlarlsfar from Savings Account
XFERTO CKG - Tlansler to Chock.ing Account
XFER FFiOM CKG - Transfsr from Checking Account
PMT TO GFi CARD - Payment to Crodit Card

AD\l CR CARD - Advancs from Credit Card

Prsauthorizod Crsdits: lf yo_u have arranged to have direct deposits made to your

Account at least once every surty (BO) days from the same person or company, you can

gail ss at th:dnurnbsrindicated on the reverse side to find out whether or not the deposit
as son m e.

lMPORTANT LlNE OF CF\ED|T lNFOFlMATlON
What To Do ll 'l"ou Think \'ou Find h Mlstako on ‘lour Statemsm: if you think there is

an error on your statement1 write us Et: KsyBank N.A., P.Cl Box BSBBS, Ciovoland, OH
44101- 5665.

in your|ottar, give us the following inlonnation:

l Account information :Your name and account numbsr.

\ Dollar Amount : The dollar amount of the suspected error.

' Doscription of the Problem : if you thinkthero is an error on your bill, describe
what you believe is wrong and Why you believe it was a mistake_

You must contact us within 60 days alter the error appeared on yourstatement. You must
notify us ot any potential errors in writing. You may call us, but if you do we are riot
required to investigate any potential errors and you may have to pay the amount irl
question.

While we investigate whetheror not there has been an errorl the following are true:

l Wo cannot try to collect the amount in question, or report you as delinquent on
that amount.

' The charge irl question may remain on your statement, and we may continue to
charge you interest on that amount. But, il we determine that we made a
mistake, you will not have to pay the amount in question or any interest or
other fees related to that amount

l Whi|e you do not have to pay the amount in question, you are responsible for
the remainder of your balance.

- We carl apply any unpaid amount against yourcrodit limit.

Explanaticn of Finance Chargo: Your Finance Cherge attributable to interest
(horsinalter referred to as intomst) is computh using the Average Dal|y Balance method.

Average Da.ily Balance method (Ba.|anco Subjoct to interest F\ata): Your interest is
computed on all purchases and cash advances {colloctivo|y "advances") from the date
each advance is posted until we receive payment in full (1hero is no grace period). Ws
figure the interest on your line of credit by multiplying the daily periodic rate by the
"Average Dain Balanos" ot your line cl credit {inciuding current transactional and
multiplying by the number of days in the billing cycle. To get the Averago Daily Balance
we take the beginning balance of your line ol credit each day, add any new advances or
debits, and subtract any payments and crodits, any non-financed fees and unpaid interest
This gives us the daily baianco. Then we add up oil of your daily balances in the billing
cycle and divide this total by the number of days in the billing cycle to got your Avorago
Dain Balanco_

CRED|T lNFDRMATION: ll you believe we have reported inaccurate information about
youraccount to a credit reporting egency, you may contact the credit reporting agency or
write to us at:

l< Crodit He¢earch Dopartment
P. . Box 94518
Clave|and. Dhio44101-451B

please include your account numbor.a copy of your credit report reflecting the inaccurate
inlormation, nams, addre$s, city, state, and zip code, and an explanation ol' why you
believe the information il inaccu rate.

 

page 2 of 2

BALANC|NG YOUFi ACCOUNT '-,-*_"

Plaase examine your statement and paid check infol'msiiori
upon receipt. Erasures, alterations or irregularities should be
reported promptly in accordance with your account agreqm_em_
The suggested steps below will help you balance your accqgm_

lNSTFlUCTlONS
Vorify and check off in your check register each depogit,
check or other transaction shown on this statement

Enter into your check register and SUBTHACT:

' Checks or other deductions shown on our statementthat
you have notalready entered.

' The "Service charges", if any, shown on your statement

Enter into your check register and ADD:

' Deposits or other credits shown on your statementthat
you have riot already enterad.

' The “lnterest eamed" shown on your statement, if any,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

9 List from your check 9 List any deposits from
register any checks or your check register that
other deductions that are natshown on your
are norshown on your statement
statement.

Check # Arnount Date Amount
or Date

TOTAL -) $

@ Enter ending balance
shown on your
statement.

$

o Add 5 and 6 and enter

total here.

$

9 Enter total from 4.

$

9 Subtract 8 from 7 and

enter difference here.

$

This amount should agree with

TOTAL -) $ your check register balancel

 

 

 

 

 

 

 

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11380 Smith Rd, LLC

Reconciliation Detai|
KeyBank #4022, Period Ending 07131.'2018

3:59 PM
08116118

 

Type Date Num Name
Beginning Balance
C|eared Transactions
Checks and Payments - 4 items
Ciieck 07!1 912018 DR 07... Xcei Energy
Checi< 07!1 912018 1103 Weinman & Associa...
Check 07!1 912018 1104 Brown, Berardini &
Check 07!27{2018 1 106 l-li-Tec Piestics

Total Checks and Payments
Total Cieanad Transactions
C|eared Balance
Register Balance es of 07131!2018

Ending Balance

L

><><><X

PagelZ of 13

 

 

 

 

 

 

Amount Balance

66,715.96

-19,256.48 -19,256.48
-8,82?.83 -28.08-4.31
-2,753.60 ~30.837.91
-1.204.00 -32,041.91
-32.041.91 -32,041.91
-32,041.91 ~32,041.91
»32,041.91 34,674.05
-32.041.91 34,674.05
-32,041.91 34,674.05

 

 

Page 1

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3:59 PM
08{16!18

11380 Smith Rd, LLC

Reconci|iation Summary
KeyBank #4022, Period Endlng 07.'31[2018

 

 

Jul31,18
Beginning Balance 66.715.96
Clearad Transactions
checks and Payments - 4 items -32,041.91
Total C|eared Transactions -32.041.91
cleared Balance 34,614.05
Register Balance as of 07.|'31!2018 34.674.05
End!ng Balance 34,674.05

Page 1

